       Case 1:11-cv-00900-WJ-KBM Document 139 Filed 07/10/19 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO



REPUBLICAN PARTY OF NEW MEXICO,
et al.,

                Plaintiffs,

v.                                                       Case No: 1:11-cv-900-WJ-KBM

HECTOR BALDERAS, in his official
capacity, New Mexico Attorney General;
MAGGIE TOULOUSE OLIVER, in her
official capacity, New Mexico Secretary of
State; and District Attorneys RAÚL
TORREZ, MARK D’ANTONIO, and
DIANNA LUCE, in their official capacities,

                Defendants.


                          NOTICE OF COMPLETION OF BRIEFING

        Pursuant to Local Rule 7.4(e), Defendants provide this Notice of Completion of

Briefing for their Motion to Strike Plaintiffs’ New Declarations. All related filings for the

motion are:

            •   Motion to Strike Plaintiffs’ New Declarations (ECF No. 135, filed May 20,
                2019);
            •   Plaintiffs’ Opposition to Motion to Strike and, in the alternative, Motion for
                Supplemental Briefing (ECF No. 136, filed May 23, 2019); and
            •   Reply in Support of Motion to Strike Plaintiffs’ New Declarations (ECF No.
                138, filed June 17, 2019).




Republican Party of N.M. v. Balderas, Case No. 1:11-cv-900-WJ-KBM
Notice of Completion of Briefing
Page 1 of 2
       Case 1:11-cv-00900-WJ-KBM Document 139 Filed 07/10/19 Page 2 of 2




                                                         Respectfully Submitted,

                                                         By: /s/ Nicholas M. Sydow
                                                         Nicholas M. Sydow
                                                         Civil Appellate Chief
                                                         201 Third Street NW, Suite 300
                                                         Albuquerque, NM 87102
                                                         Tel.: (505) 717-3571
                                                         Fax: (505) 490-4881
                                                         nsydow@nmag.gov

                                                         Attorney for Defendants Hector
                                                         Balderas, Maggie Toulouse Oliver,
                                                         Raúl Torrez, Mark D’Antonio, and
                                                         Dianna Luce




                                   CERTIFICATE OF SERVICE

        I certify that on July 10, 2019, I served the foregoing on counsel of record for all

parties via the CM/ECF system.


                                                         /s/ Nicholas M. Sydow
                                                         Nicholas M. Sydow




Republican Party of N.M. v. Balderas, Case No. 1:11-cv-900-WJ-KBM
Notice of Completion of Briefing
Page 2 of 2
